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 3   CR-S-09-380 WBS
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 4
     Attorney for Defendant
 5
     NAVPREET SINGH
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                     )       No. 2:10-cr-00347-MCE
                                                   )
10
                                                   )
            Plaintiff,                             )       STIPULATION AND ORDER
11
                                                   )       CONTINUING STATUS CONFERNCE
     v.                                            )
12
                                                   )
     DISHAN PERERA et al.,                         )       Date: July 21, 2011
13
                                                   )       Time: 9:00 a.m.
                                                   )       Judge: Hon. Morrison C. England, Jr.
14          Defendants.                            )
                                                   )
15
                                                   )
                                                   )
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18
            IT IS HEREBY stipulated between the United States of America through its undersigned
19
     counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for defendant
20
     Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L. Chastaine,
21
     Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for defendant
22
     Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant Leonard
23
     Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F. Koukol, Esq.,
24
     counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant Navpreet
25

26
     Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker, Esq., counsel

27
     for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant Torey Moore,

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 1   Shari Rusk, Esq., that the status conference presently set for May 5, 2011 be continued to July
 2   21, 2011, at 9:00 a.m., thus vacating the presently set status conference.
 3          This is a complex case involving voluminous discovery and a large amount of evidence
 4
     therefore the parties request further time to review discovery and complete investigation.
 5
     Counsel for the parties therefore agree that this is an appropriate exclusion of time within the
 6
     meaning of Title 18, United States Code § 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
 7
     time for effective preparation) and Local Code T4, and agree to exclude time from the date of the
 8
     filing of the order until the date of the status conference July 21, 2011.
 9
     IT IS SO STIPULATED
10
     Dated: May 3, 2011                                     /s/ Alan Baum
11                                                          ALAN BAUM
                                                            Attorney for Defendant
12
                                                            Dishan Perera
13
     Dated: May 3, 2011                                     /s/ Michael L. Chastaine
14                                                          MICHAEL L. CHASTAINE
                                                            Attorney for Defendant
15                                                          Jeremy Gachago
16   Dated: May 3, 2011                                     /s/ Christopher R. Cosca
17
                                                            CHRISTOPHER R. COSCA
                                                            Attorney for Defendant
18                                                          Ramiro Garcia
19   Dated: May 3, 2011                                     /s/ Christopher Haydn-Myer
                                                            CHRISTOPHER HAYDN-MYER
20                                                          Attorney for Defendant
21
                                                            Love Deep Singh Sidhu
     Dated: May 3, 2011                                     /s/ Olaf W. Hedberg
22
                                                            OLAF W. HEDBERG
23                                                          Attorney for Defendant
                                                            Leonard Woodfork
24
     Dated: May 3, 2011                                     /s/ Dan F. Koukol
25
                                                            DAN F. KOUKOL
26                                                          Attorney for Defendant
                                                            Jason Cavileer
27

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 1   Dated: May 3, 2011                       /s/ Michael D. Long
                                              MICHAEL D. LONG
 2
                                              Attorney for Defendant
 3                                            Michael Tran

 4   Dated: May 3, 2011                       /s/ John R. Manning
                                              JOHN R. MANNING
 5
                                              Attorney for Defendant
 6                                            Navpreet Singh

 7   Dated: May 3, 2011                       /s/ Mark Waecker
 8
                                              MARK WAECKER
                                              Attorney for Defendant
 9                                            Imesh Perera
10   Dated: May 3, 2011                       /s/ Shari Rusk
11
                                              SHARI RUSK
                                              Attorney for Defendant
12                                            Torey Moore
13
     Dated: May 3, 2011                       /s/ Mark J. Reichel
14                                            MARK J. REICHEL
                                              Attorney for Defendant
15                                            Navjot Singh
16

17
     Dated: May 3, 2011                       Benjamin B. Wagner
18                                            United States Attorney
19

20                                            by: /s/ Todd D. Leras
                                              TODD D. LERAS
21                                            Assistant United States Attorney
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              Case 2:10-cr-00347-DAD Document 123 Filed 05/10/11 Page 4 of 4


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                             IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      ) No. CR-S-10-347 MCE
                                                    )
10
                                                    )
            Plaintiff,                              ) ORDER TO
11
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
12
                                                    )
     DISHAN PERERA et al.,                          )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
15
                                                    )
                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the May 5, 2011 status
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     conference be continued to July 21, 2011 at 9:00 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
21
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to July 21, 2011.
24
            IT IS SO ORDERED.
25
     DATED: May 9, 2011
26
                                             _______________________________________
27                                           MORRISON C. ENGLAND, JR.
                                             UNITED STATES DISTRICT JUDGE
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                                                     4
